
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1301

                                    UNITED STATES,
                                      Appellee,

                                          v.

                             JUAN JOSE MIRANDA-SANTIAGO,
                                Defendant - Appellant.

                                 ____________________

          No. 95-1302

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                CARMEN PACHECO-RIJOS,
                                     a/k/a FINA,
                                Defendant - Appellant.

                                 ____________________

          No. 95-1304

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                ISMAEL RIVERA-DECELIS,
                                     a/k/a MACHO,
                                Defendant - Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jos  Antonio Fust , U.S. District Judge]
                                              ___________________

                                 ____________________

















                                        Before

                            Selya and Cyr, Circuit Judges,
                                           ______________

                            and Gertner,* District Judge.
                                          ______________

                                _____________________

               Edward  E. Parson, by Appointment of the Court, on brief for
               _________________
          appellant   Juan  Jos    Miranda-Santiago;  Norberto   Col n,  by
                                                      ________________
          Appointment of the Court, for appellant Carmen Pacheco-Rijos; and
          Harry R.  Segarra, by  Appointment  of the  Court, for  appellant
          _________________
          Ismael Rivera-DeCelis.
               Miguel  A. Pereira, Assistant  United States  Attorney, with
               __________________
          whom Guillermo Gil,  United States Attorney, and Jos   A. Quiles-
               _____________                               ________________
          Espinosa, Senior Litigation Counsel, were on brief for appellee.
          ________



                                 ____________________

                                  September 19, 1996
                                 ____________________

























                              
          ____________________

          *     Of  the   District  Court  of   Massachusetts,  sitting  by
          designation.

                                         -2-














                    GERTNER, District Judge.   In this consolidated appeal,
                    GERTNER, District Judge.
                             ______________

          we consider challenges to the sentences of Ismael Rivera-DeCelis,

          Carmen  Pacheco-Rijos  and   Juan  Jos   Miranda-Santiago.     In

          September of 1994, these defendant-appellants, along with twenty-

          one  co-defendants,  pled  guilty  to  participation  in  a  drug

          distribution  conspiracy  spanning  over  a  year  and  involving

          trafficking in crack cocaine,  cocaine, heroin, and marijuana, as

          well as using or brandishing firearms, and engaging in carjacking

          to facilitate their drug trade.

                    The  defendants  were  arraigned  in two  groups,  pled

          guilty before the  same judge  and were sentenced  before him  by

          early 1995.

                    Ismael Rivera-DeCelis contends that his guilty plea was

          entered in violation of Rule 11 of the  Federal Rules of Criminal

          Procedure, and that the  district judge erred in calculating  his

          sentence. See U.S.S.G.   1B1.3.  He did not press the first point
                    ___

          below.  We find that the plea colloquy in his case conformed with

          Fed.  R.  Crim. P.  11 and  that  the sentence  calculations with

          respect to  him were not  in error.   Accordingly, we  affirm his

          conviction and sentence.

                    Carmen Pacheco-Rijos challenges  her sentence,  arguing

          that  the district court erred  in imposing the mandatory minimum

          required for  her offense.  Her attack is based on her claim that

          she  met the conditions set forth in the "safety valve provision"

          of  the Sentencing Guidelines.  See 18 U.S.C.   3553(f); U.S.S.G.
                                          ___

            5C1.2.  We find  the record inadequate to justify  the district


                                         -3-














          court's decision not to grant relief.  Accordingly, we vacate the

          sentence  and remand  the case  for the  purpose of  allowing the

          district court to revisit this issue and to clarify the record by

          filing  supplemental findings.  In the event that the court finds

          its initial  calculation  in error,  it  should so  identify  and

          return,  as  well,  to   the  issue  of  other  adjustments,   if

          appropriate, under the Guidelines.

                    Juan  Jos  Miranda-Santiago also  attacks his sentence,

          arguing that  the sentencing court erred, as  a matter of law, by

          failing  to  grant a  two-level  downward adjustment  based  on a

          finding  that the  defendant  was a  "minor  participant" in  the

          criminal  activity.  See U.S.S.G.   3B1.2(b).  We find inadequate
                               ___

          support  in the record for the court's conclusion that a downward

          adjustment was inappropriate.  We vacate this sentence and remand

          the  case to  the district  court for the  purpose of  having the

          court  file  supplemental  findings  with  respect  to  appellant

          Miranda-Santiago's  role in the offense.   In the  event that the

          court  finds its computation in  error, it should  include such a

          determination in its findings.

          I.  BACKGROUND
          I.  BACKGROUND
              __________

                    We begin with an overview of events involving the three

          appellants.1
                              
          ____________________

          1  We consider the facts as set forth in the uncontested portions
          of  the  Presentence  Report   ("PSR")  of  each  defendant,  the
          information  to  which  each   defendant  pled  guilty,  and  the
          sentencing   hearing  transcripts.     E.g.,  United   States  v.
                                                 ____   _______________
          Grandmaison, 77 F.3d 555,  557 (1st Cir. 1996); United  States v.
          ___________                                     ______________
          LeBlanc, 24 F.3d 340,  342 (1st Cir.), cert. denied,  __ U.S. __,
          _______                                _____ ______
          115 S. Ct. 250 (1994).

                                         -4-














                    On March 9,  1994 a grand  jury returned an  indictment

          against 19  defendants,  including appellants  Pacheco-Rijos  and

          Miranda- Santiago, charging  them with  conspiracy to  distribute

          drugs, and with using firearms in connection with a drug offense.

          Apparently, the  conspirators hid drug  substances, firearms  and

          proceeds of  drug sales in specific locations, guarded by members

          of  the  conspiracy.    Members  of   the  conspiracy  were  also

          encouraged to  commit -- and committed  -- "carjacking" offenses;

          armed,  they  would  steal cars  and  then  use  the vehicles  to

          transport drugs back to their storage locations.

                    The indictment  and the PSRs adopted  by the appellants

          and  the district  court  detailed a  criminal enterprise  with a

          strongly hierarchical structure;  some of the  accused controlled

          the  operation,   while  others   served  as  drug   runners  and

          bodyguards.   A superseding indictment, returned on May 12, 1994,

          named  five  additional defendants,  including  appellant Rivera-

          DeCelis.

                    When arraigned,  each defendant  entered a plea  of not

          guilty.  In September  of 1994, Rivera-DeCelis, Pacheco-Rijos and

          Miranda- Santiago,  among others,  offered to change  their pleas

          with  respect to  certain  charges.   After  each plea  colloquy,

          conducted individually, the court accepted the defendants' pleas.

          Each was separately sentenced.

          II.  DISCUSSION
          II.  DISCUSSION
               __________


                              
          ____________________

          

                                         -5-














                    We consider  the facts  with respect to  each defendant

          and his or her legal challenges in turn.


















































                                         -6-














                    A.  Ismael Rivera-DeCelis
                    A.  Ismael Rivera-DeCelis
                        _____________________

                        1.  Facts
                        1.  Facts

                    Appellant  Rivera-DeCelis  was  alleged  to  have  been

          involved in several phases of the drug conspiracy detailed in the

          superseding  indictment.    He  was  charged  in Count  One  with

          distributing not less than fifty grams of cocaine base, an amount

          of not less than five kilograms of cocaine, an amount of not less

          than one kilogram  of heroin,  and some amount  of marijuana,  in

          violation of 21  U.S.C.    841(a)(1)  &amp; 846.  Counts  Three, Four

          and  Five charged  him  with possessing  and brandishing  various

          firearms in connection with his drug trafficking, in violation of

          21 U.S.C.   924(c)(1).

                    After an initial  plea of not  guilty, on September  8,

          1994, Rivera-DeCelis  offered  to change  his plea  to guilty  to

          Count One's charge that he acted in violation of 18 U.S.C.   846,

          and Count Three's charge that he  acted in violation of 18 U.S.C.

            924(c)(1).  The plea  agreement was entered into under  Fed. R.

          Crim. P. 11(e)(1)(c).2   It provided that the defendant  would be

          held accountable at  sentencing for the  distribution of no  less

          than 15  but no more than 50 kilograms of cocaine, resulting in a

          base offense  level of  34.   See U.S.S.G.     2D1.1(a)(3).   The
                                        ___

          parties also agreed that  the defendant was entitled to  a three-

                              
          ____________________

          2   Rule 11(e)(1)(C) of  the Federal Rules  of Criminal Procedure
          authorizes plea  agreements which stipulate specific sentences to
          be  imposed.  In those circumstances, a district court may either
          accept the agreement in  toto or reject it, giving  the defendant
          the  opportunity to withdraw the plea entirely.  Fed. R. Crim. P.
          11(e)(4); U.S.S.G.   6B1.3(ps).  

                                         -7-














          level downward adjustment for acceptance of responsibility, under

          U.S.S.G.   3E1.1(b)(1) &amp;  (2), reducing his offense  level to 31.

          The parties further defined the term of imprisonment: In light of

          the ten  year  mandatory minimum  sentence facing  Rivera-DeCelis

          under 21  U.S.C.   841(b)(1)(B), and a  criminal history category

          of III,  they stipulated to  a 139 month  term of  confinement on

          Count One to be followed by a 60 month term on Count Three.3

                    During the  plea colloquy, the district  judge directly

          addressed Rivera-DeCelis.   He explained each  charge, detailing,

          among other things, the time frame of the conspiracy in which the

          defendant allegedly  was involved  (roughly from January  of 1993

          through  March of  1994), the  elements of  the offenses  and the

          burden the government would  have if it tried to prove its case.4
                              
          ____________________

          3   The  139 month  prison term  on Count  One appears,  from the
          record  before us, to have been the result of negotiation between
          the initial plea and sentencing.

          4  As  to the factual basis of the charges to which the defendant
          was offering to plead, the colloquy included the following:

                    THE COURT:  Have you  received a copy  of the
                    superseding indictment that  mentions you  in
                    Counts One and Three?
                    THE DEFENDANT: Yes, sir.
                    THE COURT: Count  One is the  drug conspiracy
                    count.      There,  you   are   charged  with
                    participating in  a conspiracy .  . . .   The
                    allegation   is   that   you  knowingly   and
                    intentionally  conspired,  and agreed  with a
                    number   of   persons   to    knowingly   and
                    intentionally      distribute      controlled
                    substances.
                    THE DEFENDANT: Yes, sir.
                    THE COURT: Have with  you [sic], possess  and
                    distribute       controlled       substances,
                    specifically in an amount of not less than 50
                    grams of  crack cocaine, not  less than  five
                    kilograms of regular cocaine, some marijuana,

                                         -8-














          He also explained to the defendant the sentences he faced and the

          consequences of his  plea, inquired about coercion  and made sure

          the  defendant understood  the  particular strictures  of a  plea

          entered into under Rule 11(e)(1)(c).  The defendant agreed to the

          facts presented  in the indictment, without  asserting that there

          were  any temporal  limits  to his  personal  involvement in  the

          conspiracy. 


                              
          ____________________

                    and at least one kilogram of heroin.   Do you
                    understand that?
                    THE DEFENDANT: Yes.

          With respect to the firearms charge, the colloquy included: 

                    THE COURT: And that  aside from selling drugs
                    and  making money,  the different  members of
                    the  conspiracy  at  time possessed  weapons,
                    firearms,  to provide protection  to the drug
                    operations or the  conspiracy, not only  from
                    innocent  people but  also from  rival gangs,
                    and  to  prevent  the  intervention   of  law
                    enforcement  officers,  and   to  provide   a
                    certain degree  of  intimidation  .  .  .  of
                    innocent people . . . 
                    THE DEFENDANT: Yes, sir. 
                    THE  COURT:  Also,   that  at  times  certain
                    members of the conspiracy, of which you are a
                    part,  carjacked  citizens,  took their  cars
                    away by force, in  order to use the cars  for
                    purposes   of   --   related   to   the  drug
                    conspiracy.
                    THE DEFENDANT: Yes, sir . . . .
                    THE COURT:   You are also  pleading guilty to
                    Count  Three,  which is  the  firearms count.
                    There  the government  is alleging  that from
                    January of  1993, until on or  about March of
                    1994,  you, along with others, knowingly used
                    and     carried    firearms,     specifically
                    semiautomatic pistols, during and in relation
                    to   a  drug   trafficking  crime   which  is
                    precisely the drug trafficking crime that you
                    are charged with in Count One.
                    THE DEFENDANT: Yes, sir.

                                         -9-














                    Turning to the factual basis of the charges, the  judge

          asked Rivera-DeCelis whether the  defendant was "recognizing [his

          guilt] ... for the drug conspiracy participation and also for the

          weapons  or  firearms count,"  and  whether  he acknowledged  the

          punishment  he  could  face.    Rivera-DeCelis  answered  in  the

          affirmative to both questions.5

                    At sentencing, the defendant challenged the drug amount

          attributed  to  him in  the  PSR.    Notwithstanding his  earlier

          admissions, Rivera-DeCelis asserted that  he was only involved in

          the  conspiracy for three months  and that the  amount of cocaine

          reflected  in the plea agreement  was greater than  the amount he

          could reasonably  have  foreseen  would  have been  part  of  the

          conspiracy during his membership in it. The government cast doubt

          on the short duration of Rivera-DeCelis' involvement, noting that

          he was pictured holding a gun  and serving as a bodyguard for one

          of the  conspiracy's leaders.  Logically,  the prosecutor argued,

          such a responsibility  would not  devolve to a  new and  marginal

          member of the  organization.  In any event, even  within a 90 day

          period, the  government contended, the daily  quantities of drugs

          sold as part  of the conspiracy  would result in  a drug  offense

          level of over 34. 

                    The  district  judge  did not  accept  the  defendant's

          characterization of  his involvement and rejected  his challenge.
                              
          ____________________

          5  Rivera-DeCelis also admitted that he, as charged in Counts One
          and  Three,  actually   possessed  and  distributed   "controlled
          substances being a member of a conspiracy," and that he was aware
          of   the  acts   of   his  co-conspirators   "involving  weapons,
          carjackings and proceeds, financial gain, et cetera."  

                                         -10-














          The judge noted  that the benefits of this  plea agreement to the

          defendant  were substantial,  since, for  instance, no  amount of

          crack  cocaine was attributed to the defendant, a drug "which all

          of  them were  dealing ...  without a  doubt."   Accordingly, the

          court  adopted a  base  offense  level  of  34  and  granted  the

          defendant   a    three-level   reduction   for    acceptance   of

          responsibility.    U.S.S.G.    3E1.1(b).    Based  on a  criminal

          history category of III, Rivera-DeCelis was sentenced on the drug

          charge to a  prison term of 139  months, at the lower  end of the

          guideline range,6  to be followed by  a term of 60  months on the

          firearms  charge.  The  remaining charges  against Rivera-DeCelis

          were dismissed.

                            2.  Legal Analysis
                            2.  Legal Analysis

                                a.  Challenge to the Guilty Plea
                                a.  Challenge to the Guilty Plea

                    Although he never moved  to withdraw his plea prior  to

          sentencing,  Rivera-DeCelis now  challenges  its  validity.7   He

          claims  that his  plea was  not  voluntary, because  the district

          court  failed to  offer an  adequate explanation  of the  charges

          against   him  or   to  determine   whether  he   understood  the

          consequences of his plea.  
                              
          ____________________

          6  Given  a base offense  level of 31  and a criminal  history of
          III, Rivera-DeCelis  faced a  guideline sentencing range,  on the
          drug count alone, of 135 - 168 months. 

          7    To  the   contrary,  Rivera-DeCelis'  attorney  insisted  at
          sentencing that the request  that his client be held  responsible
          for a lower drug quantity was based on objections to the PSR, and
          that it was not a request to withdraw the defendant's plea.  When
          pressed  further, defense  counsel acknowledged  that he  was not
          making a legal argument  but offering an allocution on  behalf of
          his client. 

                                         -11-














                    We do not agree.  On the record  before us, we find  no

          error.

                                    1.  Legal Standards
                                    1.  Legal Standards

                    A  defendant  does  not  enjoy  an  absolute  right  to

          withdraw a  plea of  guilty, once  it has  been entered.   United
                                                                     ______

          States  v. Isom, 85 F.3d 831,  834 (1st Cir. 1996); United States
          ______     ____                                     _____________

          v. Austin, 948 F.2d 783, 786 (1st Cir. 1991); Fed. R. Crim. P. 11
             ______

          &amp; 32(e).   Where a defendant  does not seek to  withdraw his plea

          before the  district court  and challenges  its validity  only on

          appeal, he or  she faces a high hurdle: The challenge can succeed

          only if the  defendant demonstrates that there  was a substantial

          defect  in  the Rule  11 proceeding  itself.8   United  States v.
                                                          ______________

          Piper,  35  F.3d 611,  613-14  (1st  Cir.  1994),  cert.  denied,
          _____                                              _____  ______

                              
          ____________________

          8  Rule 11(c) provides in pertinent part:

                    (c) Advice to  Defendant.   Before accepting a  plea of
                        guilty  . . . the court  must address the defendant
                        personally in open  court and inform the  defendant
                        of,  and determine  that the  defendant understands
                        . . .

                        (1) The nature  of the charge to which  the plea is
                            offered . . .

          Fed. R. Crim. P.  11(c); see McCarthy v. United  States, 394 U.S.
                                   ___ ________    ______________
          459, 466-67,  471-72 (1969); United  States v.  Allard, 926  F.2d
                                       ______________     ______
          1237, 1247 (1st Cir. 1991).
           
              As a general matter, minor technical violations of Rule 11 do
          not  require that a  court set aside  a plea of  guilty; however,
          where  the defects  in the  plea colloquy  go  to Rule  11's core
          concerns   --   the   absence   of  coercion,   the   defendant's
          understanding of the charges and the defendant's knowledge of the
          consequences  of his or  her plea --  the Rule  mandates that the
          plea be set aside.  United States v. Cotal-Crespo, 47 F.3d 1, 4-5
                              _____________    ____________
          (1st  Cir.), cert.  denied,  __ U.S.__,  116  S. Ct.  94  (1995);
                       _____  ______
          Allard, 926 F.2d at 1244-45. 
          ______

                                         -12-














          __U.S.__, 115 S. Ct. 1118 (1995); see also United States v. Japa,
                                            ________ _____________    ____

          994  F.2d  899, 902  (1st Cir.  1993);9  United States  v. Parra-
                                                   _____________     ______

          Iba ez, 936 F.2d 588  (1st Cir. 1991);10 accord United  States v.
          ______                                   ______ ______________

          Cotal-Crespo, 47 F.3d 1,  3 (1st Cir.), cert. denied,  __ U.S.__,
          ____________                            _____ ______

          116 S. Ct. 94 (1995); Fed. R. Crim. P. 32(e).

                    In evaluating  the validity of an  appellant's plea, we

          review the totality of the circumstances  surrounding the Rule 11

          hearing.  Cotal-Crespo, 47 F.3d at 4.11
                    ____________

                              
          ____________________

          9  The Japa Court introduced a slightly different standard for an
                 ____
          appellant who  did not raise  the Rule  11 challenge below:   the
          defendant must prove that the violation amounts to "a fundamental
          defect  which inherently  results  in a  complete miscarriage  of
          justice"  or  "an  omission  inconsistent  with  the  rudimentary
          demands of fair procedure."  Id. at 902.
                                       ___

             We have remarked that the extent  of the burden on a defendant
          on  direct appeal from a guilty plea "is somewhat cloudy," United
                                                                     ______
          States  v. Mart nez-Mart nez,  69  F.3d 1215,  1219-20 (1st  Cir.
          ______     _________________
          1995),  cert. denied, __U.S. __, 116 S. Ct. 1243 (1996), and have
                  _____ ______
          suggested  that the  more imposing  standard articulated  in Japa
                                                                       ____
          might most appropriately operate  only in collateral attacks upon
          a guilty plea, brought under 18 U.S.C.   2255.  Id. at 1220.
                                                          ___

             We  need not resolve that  question in this  case, because the
          defendant fails to meet either standard.

          10  Although our review does not generally include matters raised
          for the first time on  appeal, Rule 11 challenges are not  waived
          if a  defendant fails to raise  the issue below.   Rule 11's core
          concerns  oblige  courts  of  appeals to  review  the  challenged
          processes,  since the  Rule's  strictures go  to "'the  fairness,
          integrity  [and]  public  reputation  of  judicial proceedings.'"
          Parra-Iba ez, 936 F.2d at 593 (citations omitted). 
          ____________

          11   The Allard  Court noted: "There  is no  talismanic test  for
                   ______
          determining  whether the  core  concerns  of  Rule 11  have  been
          satisfied.   The manner in which the  charge is explained and the
          method for determining the defendant's  understanding necessarily
          vary  from  case  to case  depending  upon  the  capacity of  the
          defendant and the attendant circumstances."  Allard, 926  F.2d at
                                                       ______
          1245.


                                         -13-














                                    2.  The Plea Colloquy
                                    2.  The Plea Colloquy

          As to the  validity of  the Rule 11  proceeding below,  appellant

          Rivera-DeCelis rests his argument on two points: (1)  his limited

          education and ability  to understand the written word, because of

          his dyslexia; and (2) the district court's failure to ensure that

          Rivera-DeCelis actually had read the superseding indictment under

          which he was charged.  The government argues that the appellant's

          Rule  11 challenge  -- at  this late  hour --  is wholly  without

          merit.

                    The government has the better argument.

                    The core concerns of Rule 11 require that the defendant

          be instructed in open  court with respect  to the "nature of  the

          charge to which the  plea is offered," Fed. R. Crim. P. 11(c)(1),

          and that a plea "'cannot be considered truly voluntary unless the

          defendant possesses  an understanding of  the law in  relation to

          the facts.'" United  States v.  Broce, 488 U.S.  563, 570  (1989)
                       ______________     _____

          (quoting  McCarthy v. United  States, 394 U.S.  459, 466 (1969));
                    ________    ______________

          Piper, 35 F.3d at 614. 
          _____

                    In  the case  before us,  the district  judge addressed

          Rivera-DeCelis  personally, directly, and  with careful questions
                              
          ____________________

              Factors surrounding the request to set aside a plea come into
          play: the plausibility and strength of the proffered reason for a
          plea withdrawal; the timing of the request; whether the defendant
          now asserts legal innocence; and whether the  parties had reached
          a  plea agreement. See United States v. Pellerito, 878 F.2d 1535,
                             ___ _____________    _________
          1537 (1st Cir. 1989),  cert. denied, 502 U.S. 862 (1991); Fed. R.
                                 _____ ______
          Crim. P.  32.  As we  have noted, "these factors  are relevant to
          the ultimate issue to  be addressed, namely whether the  plea was
          'knowing, voluntary  and intelligent within the  meaning of [Fed.
          R.  Crim. P.] 11.'"  United States v.  Gray, 63 F.3d  57, 60 (1st
                               _____________     ____
          Cir. 1995) (citations omitted).

                                         -14-














          designed  to  ensure  that   defendant  actually  understood  the

          proceedings.  The judge  specifically explained both the elements

          of  each   offense  and  the  factual   accusations  against  the

          defendant.  As  he walked Rivera-DeCelis through these aspects of

          the  case against  him, the  judge inquired  -- at  each turn  --

          whether  Rivera-DeCelis  subjectively  understood the  situation.

          The district judge  also made  sure that  Rivera-DeCelis in  fact

          grasped the consequences of his plea.  Fed. R. Crim. P. 11(c)(1).

          Only after  assuring himself  that Rivera-DeCelis  understood the

          charges, the  facts that formed their bases  and the consequences

          of  his plea, did the district judge ask Rivera-DeCelis to attest

          to the facts to which he was pleading guilty.12

                    Consideration  of  other factors  surrounding  the plea

          does not yield a better  result for the appellant.  With  respect

          to the validity of  the proffered reasons for requesting  that we

          set   aside  Rivera-DeCelis'   plea,   we   are  not   persuaded,

          particularly  given  the  care  with  which  the  district  judge
                              
          ____________________

          12   It strikes  us that  the appellant  has turned a  legitimate
          argument on its head.  If the district court had merely made sure
          that  a dyslexic  defendant  with  only  eight  years  of  formal
          schooling had read  an indictment -- without  oral questioning to
          ensure actual understanding --  we might find error.   See, e.g.,
                                                                 ___  ____
          United  States v.  Gray,  63  F.3d  57,  60-61  (1st  Cir.  1995)
          ______________     ____
          (reliance  on a  written document  is  an insufficient  proxy for
          personal examination by the court).

              That  is  not  the  case  before  us.  Given  Rivera-DeCelis'
          particular  circumstances, the  district court's  direct, probing
          and careful  questioning of  the defendant  assures  us that  the
          trial judge was doing as Rule 11 requires, looking to the reality
          of the situation faced by the defendant and  making sure that the
          defendant actually  understood the nature of  the charges against
          him and  the consequences of his  plea.  See Allard,  926 F.2d at
                                                   ___ ______
          1245. 

                                         -15-














          directly addressed the defendant on each issue of central concern

          under  Rule 11.   The timing of  the request, made  for the first

          time  before an  appellate court,  also counsels  against setting

          aside  the  plea.   The  defendant  made  no  assertion of  legal

          innocence; and,  finally,  the plea  was  offered pursuant  to  a

          negotiated plea agreement. 

                    In short,  the district judge fully  addressed the core

          concerns  of Rule  11.   Accordingly,  we  decline to  set  aside

          appellant Rivera-DeCelis' plea of guilty.

                                b.  Sentencing Challenge:  Relevant Conduct
                                b.  Sentencing Challenge:  Relevant Conduct

                    Rivera-DeCelis  also  challenges  his  sentence  on the

          ground  that the drug quantity attributed  to him was incorrectly

          inflated and  did not  reflect his  limited participation in  the

          conspiracy.  The  error is  based, the appellant  argues, on  the

          district court's  failure to  make individualized findings.   The

          government  disagrees,  stating   that  the  sentencing   court's

          findings  were  sufficiently precise  and  based  solidly on  the

          evidence presented.

                    We  review the district judge's quantity determinations

          at  sentencing  for  clear  error.    United  States  v.  Jim nez
                                                ______________      _______

          Mart nez, 83 F.3d 488, 492 (1st Cir. 1996); 18 U.S.C.   3742(e). 
          ________

                    The appellant's argument is wholly without merit. 

                    Under U.S.S.G.    1B1.3,  where a defendant  engaged in

          "jointly  undertaken  criminal  activity,"   he  or  she  may  be

          sentenced for his or her own acts and "all reasonably foreseeable

          acts and  omissions  of  others  in  furtherance  of  [that]  ...


                                         -16-














          activity."  U.S.S.G.    1B1.3(a)(1)(B)  &amp;  comment n.1.    In the

          context of drug trafficking  offenses, where sentences are driven

          largely  by the amount  of drugs  for which  a defendant  is held

          accountable,  "the base  offense  level of  a co-conspirator  ...

          should reflect only the quantity of drugs  he reasonably foresees

          is the object of the conspiracy to distribute after  he joins the

          conspiracy."   United States v. O'Campo, 973 F.2d 1015, 1026 (1st
                         _____________    _______

          Cir. 1992); see also United States  v. Campbell, 61 F.3d 976, 982
                      ________ _____________     ________

          (1st  Cir.  1995), cert.  denied,  __ U.S.  __,  116 S.  Ct. 1556
                             _____  ______

          (1996); U.S.S.G.   2D1.1(c) (drug quantity table).   

                    It is well settled that defendants in a drug conspiracy

          are  not   only  responsible  for  drug   quantities  which  they

          themselves   sold,  transported  or  negotiated;  they  are  also

          responsible  for    drug  amounts which,  from  their  particular

          vantage points  in the conspiracy, it  was reasonably foreseeable

          would  be involved,  and  which were  in  fact involved,  in  the

          offense.   See, e.g., United States  v. Lombard, 72 F.3d 170, 176
                     ___  ____  _____________     _______

          (1st Cir.  1995); United States v.  Carrozza, 4 F.3d  70, 80 (1st
                            _____________     ________

          Cir. 1993),  cert. denied, __  U.S. __,  114 S. Ct.  1644 (1994);
                       _____ ______

          U.S.S.G.    1B1.3  &amp;  commentary.    It is  the  project  of  the

          sentencing court  to determine what a  particular defendant could

          reasonably have foreseen.  Carrozza, 4 F.3d at 76. 
                                     ________

                    In  this case,  the sentencing  judge carried  out this

          responsibility without error.

                    It is  undisputed  that Rivera-DeCelis  pled guilty  to

          engaging in  jointly undertaken criminal  activity triggering the


                                         -17-














          application  of section  1B1.3(a)(1)(B).   At  his plea  hearing,

          Rivera-DeCelis accepted the factual recitation of the indictment,

          indicating  an involvement  in the  conspiracy from  January 1993

          through  March  of   1994.    He  also  acknowledged  knowing  of

          trafficking in crack cocaine,  cocaine, heroin and marijuana over

          that  period of  time.   His  plea, indeed,  situated him  in the

          center  of  the  conspiracy's activities,  aware  of  its use  of

          firearms as well as the extent of the drug dealing. 

                    The  district  judge  was   not  persuaded  by  defense

          counsel's  explanation that he had urged his client to accept the

          plea   because he was  unsure he could  confirm the circumscribed

          scope of the defendant's involvement.13  The defendant did little

          else to confirm that  his vantage point was  so distant from  the

          main  activity and he  stood in  that place  for such  a fleeting

          moment that he could  not reasonably have foreseen that  not less

          than  15 but  not  more than  50 kilograms  of  cocaine would  be

          involved in the  offense.   Notably, he never  suggested --  much

          less  proved --  a precise  amount for  which  he should  be held

          accountable.

                              
          ____________________

          13  When  asked why the defendant  would sign a  Rule 11(e)(1)(C)
          agreement for a specific  sentence, if he believed that  the true
          nature  of his involvement would result in a much lower sentence,
          the defendant's attorney explained: 

                    . .  . when I agreed to that, I was under the
                    impression . . .  that three months could not
                    be corroborated by the Government.  Now three
                    months   could   be   corroborated   by   the
                    Government . . .  the amount of cocaine would
                    --  should --  be less  than  the one  in the
                    indictment.

                                         -18-














                    Against  this shaky  challenge, the  government offered

          sturdy  support for attributing the defendant with at least 15 to

          50 kilograms of cocaine.  It reminded the sentencing court of the

          testimony  of a  co-conspirator, which  had indicated  that daily

          drug sales of which Rivera-DeCelis would have been aware amounted

          to well over 50 kilograms of cocaine in a matter of months.14  It

          also  cast  doubt  on the  allegedly  limited  nature of  Rivera-

          DeCelis'  involvement  by focusing  the  court's  attention on  a

          photograph  in  which  Rivera-DeCelis   is  pictured,  holding  a

          firearm, as a bodyguard to the leader of the conspiracy.15  



                              
          ____________________

          14  The government made the following argument at sentencing: 

                    MR. PEREIRA:   Your  Honor, initially let  me
                    address the issue of the quantity of drugs so
                    that the  record is  clear as  to  that.   We
                    provided, of course, to this defendant as  we
                    did  to  all   defendants,  the  grand   jury
                    transcripts of Ram n Alexandro L pez and it's
                    part  of the record of this court. . . . [H]e
                    is asked,  have you ever heard  in terms from
                    anybody or your own estimation that a kilo of
                    cocaine  gets consumed  or cooked  into crack
                    every  11  days?    The answer  to  that  is,
                    yes. . . .

                    Now, even if we assume  that this individual,
                    that this present  defendant, Ismael  Rivera,
                    participated in this conspiracy only 90 days,
                    that is  eight kilos  of crack cocaine.   1.5
                    kilos of crack cocaine  is a level 38 offense
                    in  the 1994  guidelines, so,  [it] certainly
                    covers the sentence which he agreed to.

          15  We find the government's rendition wholly believable.  Where,
          as  here, a  view  of  the  record  is  entirely  plausible,  the
          sentencing  court's adoption of that view  cannot amount to clear
          error.  See United States v. St. Cyr, 977 F.2d 698, 706 (1st Cir.
                  ___ _____________    _______
          1992). 

                                         -19-














                    On this record, the district judge did not clearly  err

          in adopting the government's reasoning, noting that the defendant

          reaped a  benefit  from  the  plea agreement  and  deciding  that

          Rivera-DeCelis' base offense level should be 34.

                    We therefore  affirm  the district  court's  sentencing

          determination.

                    B.  Carmen Pacheco-Rijos
                    B.  Carmen Pacheco-Rijos
                        ____________________

                        1.  Facts
                        1.  Facts

                    Under  the  indictment  returned   in  March  of  1994,

          appellant Pacheco-Rijos was charged with four offenses: Count One

          charged her  with conspiracy to  distribute drugs, in  amounts of

          not  less than fifty  grams of cocaine  base, not less  than five

          kilograms of cocaine, not  less than one kilogram of  heroin, and

          some  marijuana, from in  or about  January of  1993 until  in or

          about March of 1994,  in violation of 21 U.S.C.     841(a)(1) and

          846;  Counts Three, Four and  Five charged her,  along with other

          co-defendants, with knowingly using and  carrying firearms during

          and  in  relation to  her drug  trafficking,  in violation  of 18

          U.S.C.    921(a)(3) &amp; (c)(1) &amp; 924(c)(1).

                    Pacheco-Rijos was arraigned on March 14, 1994, at which

          time she pled not guilty.   On September 7, 1994, she changed her

          plea to guilty to Count One, which  charged her with violating 21

          U.S.C.      846.16    Her  plea  was  offered  pursuant  to  Rule
                              
          ____________________

          16    The underlying  offense was  21  U.S.C.    841(a)(1), which
          prohibits  the knowing or intentional manufacturing, distributing
          or possessing with intent  to manufacture, distribute or dispense
          a controlled substance.  She did not plead guilty to any firearms
          charges. 

                                         -20-














          11(e)(1)(A)  &amp; (B)  of the Federal  Rules of  Criminal Procedure,

          under which the parties may  recommend sentencing terms but those

          terms  are not  binding upon the  court.   Cf.  Fed.  R. Crim. P.
                                                     ___

          11(e)(1)(C).  

                    The agreement  recommended a  base offense level  of 28

          under  U.S.S.G.   2D1.1 and a downward adjustment of three levels

          for  acceptance of  responsibility  under  U.S.S.G.     3E1.1(b),

          resulting  in an offense level of 25.  The defendant acknowledged

          that  although  those  preliminary  calculations  resulted  in  a

          guideline range of 57 to 71 months, she could receive a statutory

          minimum of 60 months imprisonment.   The agreement, however, left

          the door  open for application  of other  provisions which  might

          affect her sentence.17

                    At the  outset of the sentencing  hearing, the district

          judge mischaracterized  the plea agreement as  a Rule 11(e)(1)(C)

          agreement, under which the sentencing judge  would be required to

          accept the agreement in  toto or reject it, thereby  allowing the

          defendant to withdraw  her plea.   Such an  agreement would  have

          represented   the  parties'   negotiations  concerning   all  the

          guideline provisions that should determine the sentence.

                    Pacheco-Rijos' plea agreement, however, did not pretend

          to such completeness.


                              
          ____________________

          17    The agreement  stated:   "The  United States  and defendant
          stipulate a sixty (60)  month term of confinement.   No agreement
          concerning the application of  any other sentencing guideline has
          been entered  into by  the parties.    All other  aspects of  the
          sentence are left to the sound discretion of the Court." 

                                         -21-














                    When counsel for Pacheco-Rijos  moved for a three-level

          adjustment for  acceptance of responsibility, the  court accepted

          it  both because  the  plea agreement  had  contemplated such  an

          adjustment  and because he  found Pacheco-Rijos'  conduct merited

          it.  He accepted an  offense level of 25, with a  guideline range

          of 57 to 71 months. 

                    However, when  counsel requested the application of the

          safety valve provision, 21 U.S.C.   3553(f) and U.S.S.G.   5C1.2,

          and,  if  granted,  a   further  two-level  reduction  for  minor

          participant status under U.S.S.G.    3B1.2(b), requests that were

          not  in the plea agreement, the district court declined to accept

          them.  The appellant argued that she met all the requirements  of

          the safety valve provision.  The government responded that, among

          other things,  Pacheco-Rijos had failed honestly  to disclose her

          own  participation in the conspiracy.18  In support of its claim,

          the government stated  simply that  her failure  "can be  gleaned

          from the Presentence Report in this case."  

                    The prosecutor's citation to the PSR is perplexing.  It

          appears that initially the PSR had not placed Pacheco-Rijos among

          the defendants for  whom the government had  designated a minimal

          or  minor  role,  but  among  those for  whom  no  role  had been


                              
          ____________________

          18  The government  also argued that although this  defendant did
          not  participate in conduct that  led to death  or serious bodily
          injury  to  any  person,  others  in  the  conspiracy  did,  thus
          rendering her ineligible  for the  benefits of  the safety  valve
          provision.   The district court  did not  address this  argument,
          finding that Pacheco-Rijos  did not qualify for relief  under the
          safety valve provision because she failed to cooperate fully.

                                         -22-














          "adjudicated."19   However, after reviewing the  objection of the

          defendant with  respect to  the scope  of her  participation, the

          probation officer,  in the final PSR,  adopted Pacheco-Rijos' own

          view  of  her  participation,20   designating  her  as  a  "minor

          participant" and characterizing her role as "passive."

                    Notwithstanding,  the  sentencing   judge  denied   the

          request  for  relief from  the  mandatory minimum  sentence.   He

          summarily concluded: "5C1.2  does not apply, because she  has not

          cooperated fully as required by  guideline Section 5C1.2(5)."  In

                              
          ____________________

          19  The PSRs for all of the appellants contained the same factual
          recitation  and structure.   It  therefore merits  some attention
          that  Rivera-DeCelis' PSR,  prepared before  Pacheco-Rijos' final
          PSR, contained the following: "[b]ased on the defendants' role in
          the  drug enterprise"  other  defendants were  identified by  the
          government   as   being   "minimal   participants,"   or   "minor
          participants," while Pacheco-Rijos was listed among those who had
          "not been adjudicated any role adjustment" since she, along  with
          others, were "considered equally  culpable in their participation
          in the offense." 

              After  Pacheco-Rijos  objected  to  the  probation  officer's
          failure  to designate  her as  a minor  participant, the  PSR was
          altered, not only in  terms of the ultimate calculation  but also
          in terms of the factual recitation.   In her final PSR, the facts
          indicated  that the  "government identified"  Pacheco-Rijos as  a
          minor participant. 

          20   Before  sentencing,  counsel for  Pacheco-Rijos submitted  a
          written statement concerning  the defendant's involvement in  the
          offense and  specifically elaborating on her  contention that she
          had  a role  in the  enterprise but  one more  limited than  that
          suggested  in  the  indictment.   She  conceded  that  other  co-
          defendants used Pacheco-Rijos' home as a place to pack controlled
          substances, that she knew generally of these  activities and that
          she did  little to  stop it.  She denied ever  handling money  or
          drugs in the illegal  operation and ever being at all involved in
          the  possession  or  concealment  of firearms.    Further,  while
          Pacheco-Rijos lived with three of the co-defendants in this case,
          Luis Antonio Garc a, Agustin Aponte-Merced and Juan Jos  Miranda-
          Santiago, she vowed to having no other knowledge of their illegal
          acts.  

                                         -23-














          addition, he stated: "And besides that, there is a stipulation in

          the plea agreement [that]  she be sentenced to  60 months.   That

          was  good  enough in  September, [so  it]  should be  good enough

          today."

                    In the  light  of his  rejection  of the  safety  valve

          provision, the judge indicated that there was no need to consider

          whether  Pacheco-Rijos  should  have   been  given  a   two-level

          adjustment based on her  role in the offense, an  adjustment that

          would  have  brought  her  sentence under  the  Guidelines  still

          further below the 60 month statutory minimum.21

                    Continuing  the  same  apparent  misapprehension  under

          which he labored from the beginning, the district judge concluded

          the sentencing  hearing by  reiterating: "I  should make it  very

          clear on this record that her plea agreement was an 11 -- Federal

          Rule Criminal Procedure 11(e)(1)(C)  plea.  And therefore the  60

          months that I have given her was precisely what she bargained for

          during the plea negotiations."

                        2.  Legal Analysis:  The Safety Valve Provision
                        2.  Legal Analysis:  The Safety Valve Provision

                    Appellant  Pacheco-Rijos  argues  that  the  sentencing

          court erred in declining  to grant her relief from  the mandatory
                              
          ____________________

          21   Here  again,  the  sentencing  court  focused  on  the  plea
          agreement in a  way that suggested  he believed  it to have  been
          binding:  "I'm going to leave it as it was in the plea agreement.
          I will not honor that adjustment.  And we're going to leave it at
          25. .  . .  This  Court understands  that  the defendant  is  not
          entitled toa minorparticipant adjustmentunderU.S.S.G.  3B1.2(b)."
              This  conclusion is  at odds  with the  district court's  own
          judgment in this case, in  which the court states that it  adopts
          the  findings  and  sentence  calculations  of  the  PSR  without
          exception.  The PSR, however, had granted Pacheco-Rijos the minor
          participant adjustment.

                                         -24-














          minimum sentence for the drug trafficking in which she admits she

          was   involved. See 18 U.S.C.    3553(f); U.S.S.G.    5C1.2.  The
                          ___

          government  responds  that  the  sentencing  court  appropriately

          determined that she was  not entitled, in the first  instance, to

          relief  from the mandatory minimum,  and that, in  any event, the

          district court's decision does not amount to clear error.

                    We review for clear  error the district court's factual

          determinations with respect to whether the appellant was entitled

          to  relief from  the mandatory  minimum under  U.S.S.G.    5C1.2.

          United  States  v. Rodr guez,  60 F.3d  193,  195 n.1  (5th Cir.)
          ______________     _________

          (court's refusal to apply    5C1.2 is a factual  finding reviewed

          for  clear error), cert. denied, __U.S.__, 116 S. Ct. 542 (1995);
                             _____ ______

          see also UnitedStates v. Monta ez,82 F.3d 520,521 (1st Cir.1996).
          ________ ____________    ________

                    We  begin our  examination  with an  observation.   The

          review  is complicated  by the  paucity of  detail in  the record

          below  and our concern for two obvious mistakes in the sentencing

          hearing  which shaped the outcome: first, that the district court

          wrongly  believed that the plea  agreement was a  binding one and

          Pacheco-Rijos  was arguing for an  outcome for which  she had not

          negotiated;  and  second,  that  the PSR  somehow  supported  the

          government's position  on Pacheco-Rijos' cooperation, when it did

          not. 

                    When Congress enacted the Violent Crime Control and Law

          Enforcement  Act of  1994,  it passed  into  law a  safety  valve

          provision  which permits judicial  departures for some low-level,

          first-time offenders  who otherwise would  face mandatory minimum


                                         -25-














          sentences.  Pub. L.  No. 103-322    80001,  108 Stat.  1796, 1985

          (1994)(amending 18 U.S.C.   3553).22       

                    Under 18  U.S.C.   3553(f),  a defendant may  avoid the

          mandatory minimum and be sentenced below the applicable guideline

          term, if he or she  meets the five requirements set forth  in the

          provision.  The section provides in pertinent part:

                    . . . the court shall impose a sentence . . .
                    without  regard  to  any   statutory  minimum
                    sentence,  if the court  finds at sentencing,
                    after  the Government  has been  afforded the
                    opportunity to make a recommendation, that:
                    (1) the  defendant does not have  more than 1
                    criminal history point,  as determined  under
                    the sentencing guidelines;
                    (2)  that defendant did  not use  violence or
                    credible  threats  of violence  or  possess a
                    firearm or other  dangerous weapon (or induce
                    another  participant to do  so) in connection
                    with the offense;
                    (3) the  offense did  not result in  death or
                    serious bodily injury to any person;
                    (4)  the  defendant  was  not  an  organizer,
                    leader, manager,  or supervisor of  others in
                    the offense . . .; and (5) not later than the
                    time of the sentencing hearing, the defendant
                    has truthfully provided to the Government all
                    information  and  evidence the  defendant has
                              
          ____________________

          22    The  safety valve  provision  was  enacted  in response  to
          concerns  that mandatory  minimums  are not  compatible with  the
          guideline regime.   The provision addressed  the following irony:
          Mandatory  minimums had,  and  have, little  real  impact on  the
          sentences  received  by  serious  repeat   offenders,  where  the
          guideline calculation arrives at a base offense level higher than
          the mandatory minimum, and where mitigating factors may therefore
          be considered.  Prior to passage of the section 3553(f), however,
          for the least culpable  offenders, mandatory minimums operated to
          block sentences from reflecting  the very mitigating factors that
          could ease sentences  of the more  culpable.  Ironically,  courts
          were  obliged  to  impose  upon  the  least  culpable  defendants
          sentences similar to those imposed on more culpable counterparts.
          As  a House Report noted, the safety valve provision was designed
          to "permit . . . greater integration between sentencing guideline
          mitigating  factors  and mandatory  minimums .  .  ."   H.R. Rep.
          No.460, 103d Cong., 2d Sess. 4 (1994). 

                                         -26-














                    concerning  the offense or offenses that were
                    part of  the same course  of conduct or  of a
                    common scheme or plan,  but the fact that the
                    defendant  has  no relevant  or  useful other
                    information to provide or that the Government
                    is already aware of the information shall not
                    preclude  a determination  by the  court that
                    the   defendant   has   complied  with   this
                    requirement.

          18  U.S.C.     3553(f); see  also  U.S.S.G.     5C1.2 (authorizes
                                  _________

          sentence  below the  mandatory  minimum  for  specific  offenses,

          subject to compliance with section 3553(f)); Monta ez, 82 F.3d at
                                                       ________

          521  (discussion  of the  aims  of  the legislation).    Notably,

          whether there  is a  binding plea agreement  or, as here,  a non-

          binding agreement, if it  is determined that a defendant  has met

          the  five requirements of the provision, the judge is required to

          set aside the  mandatory minimum and sentence the defendant under

          the Guidelines.  

                    In this case, the  district judge denied application of

          the  safety  valve  provision,  focusing  only on  the  issue  of

          Pacheco-Rijos'   cooperation.23      Apparently   accepting   the

          government's  argument that  the facts  which could  be "gleaned"

          from the PSR supported denying application of section 3553(f)(5),

          the judge  determined that  Pacheco-Rijos did not  deserve relief
                              
          ____________________

          23   As  to  the other  requirements, there  is  no dispute  that
          Pacheco-Rijos  was a first-time offender  and that she  was not a
          manager  or leader  of the  conspiracy.   Nor has  the government
          contended that she used  threats of violence in carrying  out her
          role.  The disputes arose in the context of sections 3553(f)(3) &amp;
          (5).   At  sentencing, the  government contended  that:   (1) the
          offense to which  she pled guilty involved  serious bodily injury
          or death; and  (2) that  Pacheco-Rijos failed to  meet the  final
          requirement of the safety valve provision, namely, that she fully
          disclose her involvement  in the  offense.  As  noted above,  the
          court addressed only the government's second argument.

                                         -27-














          from  her mandatory  minimum sentence because  she had  failed to

          "cooperate  fully."    In  so deciding,  he  also  stressed  that

          Pacheco-Rijos had  not negotiated  for relief from  the mandatory

          minimum  in  her plea  agreement,  an agreement  which,  as noted

          above, he incorrectly believed to be binding.   

                    Section 3553(f)(5) requires that defendants "truthfully

          provide  the  government" no  later  than at  sentencing  all the

          information  they have  regarding "the  offense or  offenses that

          were  part of  the same  course of  conduct or  part of  a common

          scheme or plan."  18 U.S.C.   3553(f)(5); U.S.S.G.   5C1.2.  

                    Questions  with   respect  to  the  scope   of  both  a

          defendant's duty to "provide" information -- and the  very nature

          of  that information -- have  already confronted this  Court.  In

          United  States v. Wrenn,  66 F.3d 1,  3 (1st Cir.  1995), we held
          ______________    _____

          that  where the  only  disclosure  to  the  government  was  made

          inadvertently  -- and  through  the government's  own efforts  to

          intercept the defendant's  conversations -- that defendant  could

          not be said to have "provided" the information to the government.

          Further,  the  Wrenn Court  noted  that where  the  defendant had
                         _____

          indicated  that he knew the  identity of customers  involved in a

          drug trafficking enterprise, but he refused to provide any names,

          it  certainly  was  not  erroneous  for  the  district  court  to

          determine  that  the  defendant   had  failed  to  provide  "all"

          information which he concededly had.  Id.
                                                ___

                     The question of scope  was further addressed in United
                                                                     ______

          States  v. Monta ez, 82 F.3d  520 (1st Cir.  1996), in which this
          ______     ________


                                         -28-














          Court  confronted  a  slightly different  question:  whether  the

          requirement that a defendant truthfully provide "all" information

          established  an affirmative duty on the part of that defendant to

          offer himself  or herself  up to  the government for  debriefing.

          Id. at 522-523.  While we determined that section 3553(f)(5) does
          ___

          not require that much,24  we agreed with the district  court that

          what the defendant provided in that case was patently inadequate.

          For although Monta ez agreed  that he was supplied drugs  that he

          then delivered, he  offered no  plausible reason why  he did  not

          provide the  government with  the  names of  his drug  suppliers.

          Under the circumstances, we found that Monta ez "did not disclose

          information that he might reasonably be expected to  possess, nor

          persuasively explain its absence."   Id. at 523; see  also Wrenn,
                                               ___         _________ _____

          66 F.3d at 3.

                    This  case is  not  like  Wrenn  or  Monta ez.    In  a
                                              _____      ________

          submission  by her counsel, included as part of her PSR, Pacheco-

          Rijos  explained the limits of her involvement in the conspiracy:

          She  was a passive participant, knowing that drugs were stored in

          the house and doing little  to stop it.  She said that  she never

          handled the drugs, nor was she aware of the firearms.

                    That  characterization   was  never  objected   to  nor

          explicitly  contradicted  by  the government.    Furthermore,  it

          appears to have been accepted  by the probation department  whose
                              
          ____________________

          24  The  fact that a full debriefing is  not statutorily required
          does  not provide a  full answer to  the question.   The Monta ez
                                                                   ________
          Court  noted:  "[A]s a practical matter, a defendant who declines
          to offer himself for a debriefing takes a very dangerous course."
          Monta ez, 82 F.3d at 523. 
          ________

                                         -29-














          amended  report  recommended granting  Pacheco-Rijos  a two-level

          adjustment as a minor  participant and specifically characterized

          her as a "passive" member of the conspiracy.

                    While it is entirely  possible that a minor participant

          in  the criminal activities  might know more  than her designated

          role  suggests, the  government  offered nothing  concrete to  so

          indicate.  In this case, as distinguished from Wrenn or Monta ez,
                                                         _____    ________

          the government did not rebut a facially plausible tale of limited

          involvement by  pointing to information this  defendant must have

          known; there was no allegation that this defendant knew the names

          of  drug suppliers  or customers  and refused  to indicate  those

          names.  There was no specific information the  government alleged

          that Pacheco-Rijos had and failed to provide. 

                    The government  cannot assure success simply by saying,

          "We  don't believe the defendant," and doing nothing more.  If it

          could,   it  would   effectively  eliminate   the  self-conscious

          difference between the safety  valve provision, U.S.S.G.   5C1.2,

          which obligates the district court  to determine if the defendant

          has truthfully provided all information, see Monta ez, 82 F.3d at
                                                   ___ ________

          523, and the substantial  assistance provision, U.S.S.G.   5K1.1,

          which permits,  upon the government's  motion and at  the court's

          discretion, a downward adjustment for certain defendants who have

          provided substantial assistance to the government.25  
                              
          ____________________

          25   By  this analysis,  we  do not  suggest  any change  in  the
          defendant's ultimate burden of proof under U.S.S.G.   5C1.2.  The
          defendant  plainly has the burden of  proving, by a preponderance
          of  the evidence,  entitlement to  relief under  section 3553(f).
          However,   where  a   defendant  in   her  submissions   credibly

                                         -30-














                    In  the PSR,  there was one  conceivable basis  for the

          government's position,  a basis which, standing  alone, is wholly

          inadequate:  that because  Pacheco-Rijos  shared living  quarters

          with other  co-defendants,26 she  must have had  more information

          than she provided to the government. 

                    Section  3553(f)(5) does  not invite  such speculation.

          If  mere conjecture  based  on personal  relationships could  bar

          application  of  section 3553(f)(5),  in  all  cases where  minor

          participants  knew   others  more  involved,  the   safety  valve

          provision would  be beyond  their grasp.   Such a result  was not

          intended by  Congress and cannot  be permitted here.   Therefore,

          district  court's  bare  conclusion  that  Pacheco-Rijos  did not

          "cooperate fully,"  absent either  specific  factual findings  or

          easily  recognizable support in  the record, cannot  be enough to

          thwart her  effort to  avoid imposition  of  a mandatory  minimum

          sentence.27 


                              
          ____________________

          demonstrates  that she has  provided the government  with all the
          information she  reasonably was expected to  possess, Monta ez 82
                                                                ________
          F.3d at 523, in order to defeat her claim, the government must at
          least come forward with some sound reason to suggest otherwise.  

          26   One  co-defendant apparently  shared a  somewhat independent
          living quarters with Pacheco-Rijos' daughter. 

          27  We note one other strong inference from the record:  that the
          district court did not  apply this provision out of  deference to
          the plea agreement into  which the parties had entered  and which
          he  erroneously believed  would  be completely  voided unless  he
          accepted the  sentencing terms.  This  was not the case.   In any
          event, a plea agreement -- even a binding one -- does not replace
          the independent determination of the district court as to whether
          this provision applies.   See Carrozza, 4 F.3d at  87; U.S.S.G.  
                                    ___ ________
          6B1.2(c) &amp; commentary. 

                                         -31-














                    Accordingly,  we vacate  the sentence  and remand  this

          case  for the purpose of  allowing the district  court to revisit

          this  issue  and  clarify   the  record  by  filing  supplemental

          findings.28   In  the  event that  the  court finds  its  initial

          calculation  in error, it should so identify and return, as well,

          to the  issue of  other adjustments,  if  appropriate, under  the

          Guidelines.

                    C.  Juan Jos  Miranda-Santiago
                        Juan Jos  Miranda-Santiago
                        __________________________

                        1.  Facts
                        1.  Facts

                    Appellant Miranda-Santiago was indicted on the drug and

          firearms  charges detailed in Counts One, Three, Four and Five of

          the superseding  indictment in this  case.   At his  arraignment,

          Miranda-Santiago pled not guilty to all charges.  On September 7,

          1994, he  offered to change  his plea  to guilty.   Under a  plea

          agreement  entered  into  pursuant  to Rule  11(e)(1)(A)  &amp;  (B),

          Miranda-Santiago offered  to plead guilty to  Count One, charging

          him  with  possession with  intent  to  distribute narcotics,  21

          U.S.C.    846.  In addition, the parties recommended to the court

          a  base offense  level of  30, with  a three-level  reduction for

          acceptance of responsibility, under U.S.S.G.   3E1.1(b)(1) &amp; (2),




                              
          ____________________

          28  The remaining argument  made by the government below  -- that
          the  offense  involved serious  bodily  injury  or death  thereby
          disqualifying Pacheco-Rijos from the benefits of the safety valve
          provision  --  lacks merit.   It  therefore  does not  provide an
          alternative  reason  to  affirm the  district  court's  decision.
          Indeed, the government has all but abandoned the argument in this
          forum.

                                         -32-














          resulting in  a  sentencing range  of  70 -  87  months.29   More

          specifically,  the parties  agreed to  ask for  a sentence  of 84

          months.

                      The Miranda-Santiago PSR  contained the same  general

          recital  of the  facts  as  that  contained  in  the  other  PSRs

          discussed  above.     As   to  Miranda-Santiago's  role   in  the

          enterprise, the PSR  indicated that  this defendant  worked as  a

          drug  distributor.   He was  not identified  as someone  who used

          firearms  or provided  protection  for the  operation.   The  PSR

          designated   him  as   a  minor   participant  in   the  offense.

          Notwithstanding  that  finding,  the  probation  officer did  not

          include a two-level downward adjustment as part of the sentencing

          calculation.  The PSR recommended a base level of 30, with only a

          three-level reduction for acceptance of responsibility.  

                    The  appellant  was  sentenced  on  January  11,  1995.

          During  the  hearing, the  defendant voiced  no objection  to the

          findings  contained in  the  PSR.30   Although he  did not  do so

                              
          ____________________

          29  The  parties had recommended  that, for sentencing  purposes,
          the  defendant be held  accountable for at least  3.5 but no more
          than 5 kilograms of cocaine.  Accordingly, the base offense level
          in this  case was set at  30.  U.S.S.G.    2D1.1.   The defendant
          faced a mandatory minimum five year term of imprisonment under 21
          U.S.C.   841(b)(1)(B).  

          30  The  district judge  asked the defendant's  counsel if  there
          were any objections to the PSR. He reported that there were  none
          and did not ask the  district court judge to make  specific role-
          in-the-offense findings.  The  judge also asked the defendant  if
          he  had  reviewed  the  PSR  with his  attorney  and  if  he  any
          objections  to  it.    Miranda-Santiago  responded  that  he  had
          discussed the report with  counsel and that he had  no objections
          to it.


                                         -33-














          during the sentencing hearing, in the written judgment the  judge

          adopted  the  PSR's factual  findings,  without  exception.   The

          district  court arrived  at  a  base  offense  level  of  27  and

          sentenced  Miranda-Santiago  to  a  prison  term  of  78  months,

          eighteen months above the mandatory minimum for that offense.

                            2.  Legal   Analysis:       Minor   Participant
                            2.  Legal   Analysis:       Minor   Participant

          Adjustment
          Adjustment

                    On  appeal,  Miranda-Santiago challenges  his sentence,

          arguing  that the district court  erred by failing  to adjust his

          offense  level downward two levels  for his role  in the offense.

          The appellant  contends that  since the sentencing  court adopted

          the  factual findings  of  the PSR,  the  decision not  to  grant

          Miranda-Santiago  a  minor participant  adjustment  was a  simple

          misapplication of the Guidelines.   Our review -- notwithstanding

          the appellant's failure  to raise  the issue below  -- should  be

          plenary and the sentence vacated.

                    The  government disagrees  and makes,  essentially, two

          arguments: First, it contends that,  as a procedural matter, this

          Court ought not review this issue because the appellant waived is

          rights by not raising the question below.  Second, the government

          asserts  that, even  if the  issue is  not waived,  the appellant



                              
          ____________________

              Before this Court, appellant  argues that he nor his  counsel
          noticed the  inconsistency within the report. Defendant's counsel
          notes that Miranda-Santiago is  illiterate, having only stayed in
          school  through the  sixth grade  and that  since he  is Spanish-
          speaking  and does not understand English, his only review of the
          PSR came through an oral translation of its nineteen pages.

                                         -34-














          challenges  a   factual  determination  at  sentencing   and  the

          determination was not clear error.  

                    We will consider each  of the government's arguments in

          turn.

                                a.  Waiver
                                a.  Waiver

                    The government argues that Miranda-Santiago, in voicing

          no objection  to the PSR at  sentencing, has waived  his right to

          raise this  issue on  appeal. The appellant  argues that  neither

          counsel  nor   the  appellant   noticed  the  error,   and  that,

          particularly  given  the pressures  put  on  non-English speaking

          defendants with respect to lengthy reports only orally translated

          into  Spanish, the absence of an  objection should not constitute

          waiver.

                    We find that this defendant, given these circumstances,

          forfeited his rights but  did not waive them.   The difference is

          critical: "Whereas forfeiture  is the  failure to  make a  timely

          assertion of  a right, waiver is  the 'intentional relinquishment

          or abandonment of a known  right.'"  United States v.  Olano, 507
                                               _____________     _____

          U.S. 725, 733  (1993); see also  Carrozza, 4 F.3d  at 87 &amp;  n.13.
                                 ________  ________

          Under Olano, the defendant who forfeited his right is entitled to
                _____

          review  for plain  error.   This  is a  compelling  case for  the

          doctrine.  After all, the claimed error could well have an impact

          on the length of defendant's incarceration.








                                         -35-














                                b.  Standard of Review
                                b.  Standard of Review

                    The standard  of review  is nonetheless imposing.   The

          appellant  seeks the benefit of a plenary review of the question.

          We disagree.   Where a  defendant has failed  to raise the  legal

          issue below,   the issue can be examined only  for plain error.31

          Fed. R. Crim. P. 52(b); Olano, 507 U.S. at 730-32. 
                                  _____

                                c.  Minor Participant Adjustment
                                c.  Minor Participant Adjustment

                    When a  defendant  is determined  to  be a  "minor"  or

          "minimal" participant in criminal activity, a sentencing court is

          directed to decrease the base offense level. U.S.S.G.    3B1.2(a)

          &amp; (b).32    A minor  participant  is one  "who  plays a  part  in

          committing the offense that makes him substantially less culpable

          than  the  average  participant."    U.S.S.G.     3B1.2,  comment

          (backg'd).33

                              
          ____________________

          31    The  plain  error  standard  requires  that  the  appellant
          demonstrate that:  (1) there was an  "error;" (2) it was "plain;"
          and  (3) it affected  "the substantial rights"  of the defendant.
          E.g.,  United States  v. Olano,  507  U.S. at  732-33. Even  if a
          ____   _____________     _____
          defendant  meets the  standard  established by  the Olano  Court,
                                                              _____
          appellate courts  maintain discretion to recognize  the error and
          are directed to consider whether the error affects "the fairness,
          integrity or  public reputation of judicial proceedings."  Id. at
                                                                     ___
          732, 735. 

          32  Minimal participation  merits a four-level decrease; U.S.S.G.
            1B1.2(a);  minor  participation  merits  a  two-level decrease,
          U.S.S.G.   1B1.2(b).

              The appellant contends -- and the government initially agreed
          -- that Miranda-Santiago was a minor participant in the  criminal
          enterprise.    

          33  The  defendant carries the  burden of proving  that he was  a
          minor participant entitled to a two-level decrease under U.S.S.G.
            3B1.2.  E.g.,  United States  v. Ocasio-Rivera, 991  F.2d 1,  3
                    ____   _____________     _____________
          (1st Cir. 1993).  

                                         -36-














                    On appeal, Miranda-Santiago argues that he was entitled

          to  that  reduction, that,  indeed,  the  district court  adopted

          factual findings consistent with  granting the reduction and that

          the Court committed plain error in denying him the benefit of the

          role-in-the-offense adjustment.   The government  argues that the

          defendant  was not  entitled  to  the  adjustment  in  the  first

          instance  and that the sentencing should not be disturbed at this

          late hour, in any event.

                    The appellant has the better argument. 

                    It is  a fundamental obligation of a  district court at

          sentencing to "state in open court the reasons for its imposition

          of the particular sentence."  19 U.S.C.   3553(c).  To accomplish

          this goal,  the court  ordinarily must make  "reasonably specific

          findings" and "explain, generally, how it computed the applicable

          guideline range."  United States v. McDowell, 918 F.2d 1004, 1012
                             _____________    ________

          (1st Cir. 1990).  

                    This obligation has become particularly  critical since

          the enactment of the Sentencing  Guidelines.  Under the guideline

          regime, factual  determinations made by the  sentencing judge may

          have   a   profound  effect   on   the   length  of   defendant's

          incarceration.   Ensuring  our  ability to  engage in  meaningful

          review of those  findings is essential.   So while we have  found

          that  a  sentencing  court  can comply  with  section  3553(c) by

          adopting  findings from  the  PSR, see,  e.g.,  United States  v.
                                             ___   ____   _____________

          Savoie,  985 F.2d 612, 618 (1st Cir. 1993), this technique cannot
          ______

          be  employed  when  the  PSR  itself  is  unclear  or  inherently


                                         -37-














          contradictory.    Moreover,  we have  repeatedly  urged  district

          courts, in  the interests of buttressing  sentencing calculations

          and facilitating appellate review, to make certain that the bases

          of  the calculations are clearly set forth.  See United States v.
                                                       ___ _____________

          Van, 87 F.3d 1, 2-3 (1st Cir. 1996) (collecting cases).    
          ___

                    In this case, the  district judge made few findings  at

          the sentencing hearing.   In his judgment, he simply  adopted the

          PSR,  in toto.   There is a  problem with that  procedure in this

          case:  The PSR,  as  best we  can  decipher it,  judged  Miranda-

          Santiago a minor participant in the conspiracy.  It was merely in

          calculating the sentence that this finding did not translate into

          a  two-level downward adjustment.  The  record therefore does not

          provide  an  adequate  factual  basis for  the  district  court's

          determination with respect to Miranda-Santiago's role.

                    This error  is clear, obvious, and  potentially affects

          the appellant's substantial rights.   Accordingly, we vacate this

          sentence  and  remand this  case to  the  district court  for the

          purpose  of  having the  court  file  supplemental findings  with

          respect to appellant Miranda-Santiago's role in the offense.   In

          the event that the district court finds its computation in error,

          the court should include such a determination in its findings.  

          III.  CONCLUSION
          III.  CONCLUSION
                __________

                    The convictions  of all  appellants are affirmed.   The
                                                            ________

          sentence  of  appellant Rivera-DeCelis  is  also  affirmed.   The
                                                            ________

          sentences  of the  appellants Pacheco-Rijos  and Miranda-Santiago

          are vacated, and their cases are remanded for further proceedings
              _______                      ________


                                         -38-














          consistent with this opinion. 




















































                                         -39-









